           Case 1-18-47178-nhl        Doc 27     Filed 06/25/19     Entered 06/25/19 15:46:27




June 25, 2019

Court Clerk
U.S. Bankruptcy Court, EDNY
Conrad B. Duberstein U.S. Courthouse
271-C Cadman Plaza East
Suite 1595
Brooklyn, NY 11201-1800

       Re:      Debtor: Ramla Bibi
                Case No.: 18-47178-nhl

Dear Court Clerk:

Our office represents Nationstar Mortgage LLC d/b/a Mr. Cooper as servicer for U.S. Bank National
Association, as Trustee for Structured Adjustable Rate Mortgage Loan Trust, Mortgage Pass-Through
Certificates, Series 2005-19XS Secured Creditor                             Motion for Relief from
Stay, filed at docket # 13, with respect to real property known as 246 68 87th Avenue, Bellerose,
New York 11426.

Please allow this letter to confirm that the Motion for Relief from Stay Hearing is adjourned, on
consent, from June 26, 2019 to August 14, 2019 at 3:00 PM.

Please feel free to contact our office if you have any questions regarding this matter.


Thank you for your time and attention to this matter.

Very truly yours,

By_/s/Elizabeth Doyaga_______
Elizabeth Doyaga, Esq.




Cc: Ehsanul Habib, Esq. (VIA ECF only)
    Debra Kramer, Esq. (VIA ECF only)
